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                                         ORDERED.
        Dated: September 17, 2020




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

     In re                                         )
                                                   )
     MUST CURE OBESITY,                            )       Case No. 6:20-bk-01801-KSJ
                                                   )       Chapter 7
                     Debtor.                       )       Previously Chapter 11
                                                   )


                  ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
                                   (No Hearing)


             THIS CASE came on for consideration, without hearing, on the Motion to Withdraw as

Counsel for Must Cure Obesity (the “Motion”) (Doc. No. 42) filed pursuant to the negative

notice provisions of Local Rule 2002-4. The Court considers the Motion uncontested because

no party filed an objection. Accordingly, it is

             ORDERED:

1.           The Motion (Doc. No. 42) is GRANTED.

2.           Amber Robinson of Robinson Law Office PLLC is relieved of further
             responsibility in this case as counsel for Must Cure Obesity.




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     3.     Parties should serve all future correspondence and pleadings on Don Juravin at

this address: 11518 Pendio Drive, Montverde, FL 34756.




Attorney Amber Robinson is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of this
order.




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